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              IN THE UNITED STATES BANKRUPTCY COURT FOR
                        THE DISTRICT OF MARYLAND
                               Baltimore Division
____________________________________
IN RE:                               )
PARVIS NAFFIS AND VICKY NAFFIS )           Chapter 7
            Debtor                   )     Case No.: 14-28711
                                     )
____________________________________)
PARVIS NAFFIS                        )
            Plaintiff                )
                                     )
Vs.                                  )     Adversary Case No.: 15-00078
                                     )
                                     )
 XEROX EDUCATION SERVICES, LLC)
                                     )
And                                  )
                                     )
UNITED STATES DEPARTMENT OF )
EDUCATION                            )
                                     )
And                                  )
                                     )
NELNET LOANS                         )
                                     )
            Defendants               )
____________________________________)

                             THIRD AMENDED COMPLAINT

       NOW COMES, Parvis Naffis, (“Plaintiff”), and files this Complaint to Determine the

Dischargeability of student loans against, United States Department of Education (“USDE”), and

Nelnet Loans, (“Nelnet”), and for moves this Court for redress against Xerox Education

Services, LLC, (“XES”) for violations of State and Federal laws and incorporates all previous

filed Complaints and for reasons represent:

                          Count I- Dischargeability of Debt
              (U.S. DEPARTMENT OF EDUCATION & NELNET LOANS)
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       1.      The Court has jurisdiction to hear this complaint pursuant to Title 11 U.S.C.

§523a(8) seeking determination of the dischargeability of a student loan; relate to the

administration of the estate, and therefore, this Complaint is a core proceeding as founded in 28

U.S.C.§157(b)(2)(A) and (K) and 28 U.S.C. §1334.

       2.      The venue is this Court is pursuant to 28 U.S.C. §1408 and §1409.

       3.      Plaintiff is a Debtor in this Chapter 7 Bankruptcy case.

       4.      The Defendant Nelnet is an educational lender or guarantor of educational loans

doing business in the State of Maryland and are creditors in these proceedings.

       5.      The Defendant USDE is an educational lender or guarantor of educational loans

doing business in the State of Maryland and are creditors in these proceedings.

       6.      The Defendant XES is an educational servicer or guarantor of educational loans

doing business in the State of Maryland and are creditors in these proceedings.

       7.      The Plaintiff obtained loans from the Defendants to finance his son’s college

education at various institutions of higher learning.

       8.      The Plaintiff is Seventy-Four (74) years old.

       9.      The Plaintiff in March 31st, 2012 became severely ill and required a series of

surgeries which resulted in the loss of approximately half of his intestines. In March, 2013

Plaintiff, due to his health problems, was forced to close his business and was forced into

retirement due to his health.

       10.     Since March 31st, 2012, the Plaintiff was unable to work due to the permanent

injury occasioned by his illness. Plaintiff has pervasive problems with breathing, walking,

concentration, memory loss, absorption of nutrition which leads to general body fatigue and
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weakness. Plaintiff also suffers from heart disease (history of four by-pass surgeries); high blood

pressure; hyperthyroidism; depressions and takes medication for each of these conditions.

       11.     The sole income of the Plaintiff is Social Security Disability Income. The income

of the Plaintiff is barely sufficient to meet his living expenses and is not sufficient to meet his

living expenses and is not sufficient to pay and payment on the educational loans.

       10.     Plaintiff has made a good faith effort to repay the educational loans but due to

compounding of interest a debt that started at $72,000.00 due to interest charges grew to well

over $300,000.00. Accordingly, Plaintiff was unable to maintain regular payments, and unable

to make any payment at all now or in the future. His last payment on the debt was in 2002.

       11.     The amount due to the Defendants is in excess of $300,000.00.

       12.     Based upon the current income of the Plaintiff, the current living expenses of the

Plaintiff, and unlikely hood of future employment, the educational loans of the Defendants

present an undue hardship upon the Plaintiff.

WHEREFORE, the Plaintiff prays for the following relief:

       A.      That the educational loans or benefits due and owing to Defendants be discharged

in this Chapter 7 Bankruptcy Proceeding pursuant to Title 11 U.S.C. §523a(8).

       B.      That the Plaintiff has such other and further relief as the nature of his cause may

require.

             COUNT II- WILLFUL VIOLATION OF THE AUTOMATIC STAY
                               (DEFENDANT XES)
                        JURY TRIAL PRAYER PURSUANT TO
             FEDERAL RULES OF BANKRUPTCY PROCEDURE 9015(A)(B)

       13.     On December 9, 2014, Plaintiff filed for protection under title seven (7) of the

Bankruptcy laws (the “Voluntary Petition”).

       14.     Defendant USDE was listed as a creditor on Plaintiff’s schedules.
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       15.     Defendant XES was a servicer for Defendant USDE and was responsible for

servicing of Plaintiff’s student loan.

       16.     Defendant XES was on notice of the impending bankruptcy and despite notice

continued in their attempts to collect a debt from Plaintiff, in violation of the automatic stay.

       17.     Specifically, while the bankruptcy was pending, the Defendant, through its agents,

contacted the Plaintiff telephonically on multiple occasions in their attempt to collect a debt.

       18.     Defendant would also send Plaintiff collection and other notices to further their

coerce him into paying the debt.

       19.     On February 19, 2015, Plaintiff filed the instant Complaint seeking to discharge

his student loans.

       20.     On March 18, 2015, Defendant was served with a copy of the Summons and

Complaint (“SAC”).

       21.     Despite receiving notice of the impending action, the Defendant continued to call

and send notices regarding the aforementioned debt.

       22.     The Defendant represented to the Plaintiff that the adversary proceeding had been

dismissed and that he needed to consolidate his student loans. The Defendant knew or had reason

to know that said statements were patently false.

       23.     Despite the pending action, Defendant coerced the Plaintiff into signing a new

promissory note, consolidating his student loans and essentially selling or otherwise transferring

his student loans to Defendant Nelnet, in its attempt to deprive this Court of jurisdiction to hear

the pending action.

       24.     11 U.S.C. § 362. Automatic stay states that- (a) Except as provided in subsection

(b) of this section, a petition filed under section 301, 302, or 303 of this title, or an application
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filed under section 5(a)(3) of the Securities Investor Protection Act of 1970, operates as a stay,

applicable to all entities, of— (1) the commencement or continuation, including the issuance or

employment of process, of a judicial, administrative, or other action or proceeding against the

debtor that was or could have been commenced before the commencement of the case under this

title, or to recover a claim against the debtor that arose before the commencement of the case

under this title;

        (2) the enforcement, against the debtor or against property of the estate, of a judgment

obtained before the commencement of the case under this title; (3) any act to obtain possession

of property of the estate or of property from the estate or to exercise control over property of the

estate; (4) any act to create, perfect, or enforce any lien against property of the estate; (5) any act

to create, perfect, or enforce against property of the debtor any lien to the extent that such lien

secures a claim that arose before the commencement of the case under this title; (6) any act to

collect, assess, or recover a claim against the debtor that arose before the commencement of the

case under this title; (7) the setoff of any debt owing to the debtor that arose before the

commencement of the case under this title against any claim against the debtor; and (8) the

commencement or continuation of a proceeding before the United States Tax Court concerning

the debtor.

        25.     Defendant actions are in clear violation of the Bankruptcy Code.

WHEREFORE, Plaintiff prays for judgment against the defendant as follows:

(a) Compensatory damages in an amount exceeding $75,000.00; and

(b) Rescission of the post-petition transfer in violation of the automatic stay; and

(c) Attorney’s fees; and

(d) For such other relief as may be deemed just and proper.
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             COUNT III- VIOLATION OF THE FAIR DEBT COLLECTIONS ACT
                                 (DEFENDANT XES)
                          JURY TRIAL PRAYER PURSUANT TO
              FEDERAL RULES OF BANKRUPTCY PROCEDURE 9015(A)(B)

                           STATUTORY STRUCTURE OF FDCPA

        26.     Plaintiff incorporates all of the preceding paragraphs as if herein restated for

reference.

        27.     Fair Debt Collection Practices Act (the “FDCPA”), was passed to eliminate

abusive debt collection practices by debt collectors, to insure that those debt collectors who

refrain from using abusive debt collection practices are not competitively disadvantaged, and to

promote consistent state action to protect consumers against debt collection abuses. 15 U.S.C. §

1692.

        28.     Under the FDCPA, a “consumer” is a natural person obligated or allegedly

obligated to pay any debt. 15 U.S.C. § 1692a(3).

        29.     Under the FDCPA, “debt” means any obligation or alleged obligation of a

consumer to pay money arising out of a transaction in which the money, property, insurance, or

services which are the subject of the transaction are primarily for personal, family, or household

purposes. 15 U.S.C. § 1692a(5).

        30.     Under the FDCPA, a “debt collector” is any person who uses any instrumentality

of interstate commerce or the mails in any business the principal purpose of which is the

collection of any debts, or who regularly collects or attempts to collect, directly or indirectly,

debts owed or due or asserted to be owed or due to another. 15 U.S.C. § 1692a(6).

        31.     Any debt collector who fails to comply with the provisions of the FDCPA is liable

for any actual damages sustained; statutory damages up to $1,000; and attorney’s fees as

determined by the Court and costs of this action. 15 U.S.C. § 1692k.
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       32.     The Defendant(s) violated the FDCPA on multiple occasions and acted with

impunity in violating the FDCPA, based on the following:

       a.      Defendant(s) violated §1692d of the FDCPA by engaging in conduct the natural

consequences of which is to harass, oppress, and abuse Plaintiff.

       b.      Defendant(s) violated §1692d(6) of the FDCPA by placing collection calls in

violation of the automatic stay.

       c.      Defendant(s) violated §1692e of the FDCPA by making false, deceptive, and

misleading representations in connection with debt collections.

       d.      Defendant(s) violated §1692e(2) of the FDCPA by misrepresenting the legal

status of the alleged debt.

       e.      Defendant(s) violated §1692e(10) of the FDCPA by making false representations

and engaging in deceptive means to collect the alleged consumer debt.

       f.      Defendant(s) violated §1692f of the FDCPA by engaging in unfair and

unconscionable means to collect or attempt to collect the alleged debt.

       WHEREFORE, Plaintiff respectfully prays judgment for:

       a. One Thousand Dollars for Each Violation Per Incident ($1,000.00) as allowed by 15

U.S.C.1692(k) plus compensatory damages of Three-Hundred Fifty Thousand Dollars

($350,000.00) and

       b. For such other and further relief as may be deemed just and proper.

COUNT IV- VIOLATION OF THE MARYLAND DEBT COLLECTION ACT (MCDCA)
                         (DEFENDANT XES)
                  JURY TRIAL PRAYER PURSUANT TO
        FEDERAL RULES OF BANKRUPTCY PROCEDURE 9015(A)(B)

       33.     Plaintiff incorporates the foregoing paragraphs.
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       34.    Plaintiff incurred a debt which was primarily for personal, family, or household

purposes and is therefore a “consumer transaction” as that term is defined by the Maryland

Consumer Debt Collection Act.

       35.    Defendant by continuing collection efforts, when it was legally estopped from

doing so, in an effort to collect consumer debts, violated the MCDCA.

       36.    As a result of Defendant violations of the MCDCA, Plaintiff have suffered actual

damages and are therefore entitled to actual damages pursuant to Md. Code. Ann., Com. Law.

§14-203 from Defendant.

       WHEREFORE, Plaintiff respectfully prays judgment for:

       a. One Thousand Dollars for Each Violation Per Incident ($1,000.00) as allowed by 15

U.S.C.1692(k) plus compensatory damages of Three-Hundred Fifty Thousand Dollars

($350,000.00) and

       b. For such other and further relief as may be deemed just and proper.

                                            Respectfully Submitted,


                                            /s/ Kim Parker
                                            ___________________________
                                            KIM PARKER, ESQ. (BAR#23894)
                                            COUNSEL TO DEBTOR
                                            LAW OFFICES OF KIM PARKER, P.A.
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         STATEMENT REGARDING CORE AND NON-CORE PROCEEDINGS

       Pursuant to Local Bankruptcy Rule 7012-1 as Amended, Plaintiff’s consent’s to final

entry of Orders and judgments in the underlying matter.

                STATEMENT REGARDING JURY TRIAL PRAYER
            FEDERAL RULES OF BANKRUPTCY PROCEDURE 9015(A)(B)

       Plaintiff’s consents to the Honorable Judge Nancy Alquist (“Judge Alquist”), to proceed

over a jury trial on counts two through fourt herein stated in the Third Amended Complaint.


                                                   /s/ Kim Parker
                                                   __________________________
                                                   Kim Parker, Esq.
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                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Third Amended Complaint was served this 11th day of

July, 2016, via the Court’s Electronic Filing System (“ECF”) to:


Richard Marc Goldberg, Esquire
Via email: rmg@shapirosher.com

Anastasia L. McCusker, Esquire
Via email: alm@shapirosher.com

                                                    /s/ Kim Parker
                                                     ____________________
                                                    Kim Parker, Esquire
                                                    Counsel for Plaintiff
